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               IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 In re:                                             Chapter 11

 CAESARS ENTERTAINMENT                              Case No. 15-01145 (ABG)
 OPERATING COMPANY, INC., et al.,
                                                    Jointly Administered
                       Debtors.

                                   NOTICE OF MOTION

          PLEASE TAKE NOTICE that on August 15, 2018 at 10:30 a.m., Earl of Sandwich

(Atlantic City), LLC shall appear before the Honorable A. Benjamin Goldgar, in Courtroom 642

in the Everett McKinley Dirksen United States Courthouse, 219 South Dearborn Street, Chicago,

Illinois 60604, and present the attached unopposed motion for leave to file a 19-page memorandum

of law in support of its summary judgment motion, filed contemporaneously herewith.

Dated: July 31, 2018                               Respectfully submitted,

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                                                   LLC
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                IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 In re:                                                 Chapter 11

 CAESARS ENTERTAINMENT                                  Case No. 15-01145 (ABG)
 OPERATING COMPANY, INC., et al.,
                                                        Jointly Administered
                         Debtors.

                       EARL OF SANDWICH’S UNOPPOSED MOTION
                       FOR LEAVE TO EXCEED PAGE LIMITATION

          Earl of Sandwich (Atlantic City), LLC (“Earl”) hereby moves for leave to file a 19-page

memorandum of law in support of its summary judgment motion, filed contemporaneously

herewith (“Memorandum of Law”), and respectfully states:

          1.     Pursuant to Local Rule 5005-3(D), leave of the Court is required to file a brief or

memorandum that is more than 15 pages in length.

          2.     The governing Amended Case Management Procedures [ECF No. 1165, Ex. 1], as

amended by Order, entered July 16, 2015 [ECF No. 1911], authorizes parties to move for leave to

exceed the foregoing page limitation, together with the filing of the underlying brief or

memorandum.

          3.     By this motion, Earl seeks leave to file a 19-page Memorandum of Law.

          4.     The subject contested matter presents significant legal questions, and the record is

lengthy. Additional space is needed to appropriately articulate the basis for the relief sought by

Earl.

          5.     Whitebox Advisors, LLC has consented to the relief sought herein. A proposed

form of order granting leave is annexed hereto.
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Dated: July 31, 2018                         Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

        I, Joseph D. Frank, an attorney, hereby certify that on July 31, 2018, a true and correct

copy of the Notice of Motion and Earl of Sandwich’s Unopposed Motion for Leave to

Exceed Page Limitation was filed electronically. Notice of the filing will be sent to all parties

who are currently on the Court’s Electronic Mail Notice List, a copy of which is attached hereto,

by operation of the Court’s Electronic Filing System.

                                                                             /s/ Joseph D. Frank


Mailing Information for Case 15-01145

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